      Case 1:22-cv-03256-KPF           Document 107        Filed 01/24/25     Page 1 of 47




                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


Consumer Financial Protection Bureau and
the People of the State of New York by
Letitia James, Attorney General for the State
of New York,

               Plaintiffs,

               v.                                     Case No. 22-cv-3256 (KPF)

MoneyGram International, Inc. and
MoneyGram Payment Systems, Inc.,

                Defendants.



               SECOND AMENDED AND SUPPLEMENTAL COMPLAINT

       Plaintiffs, the Consumer Financial Protection Bureau (Bureau) and the People of the State

of New York (State of New York), by its Attorney General (NYAG) (collectively, Plaintiffs)

bring this action against MoneyGram International, Inc. and MoneyGram Payment Systems, Inc.

(collectively, MoneyGram or Defendants) and allege as follows:

                                        INTRODUCTION

       1)      MoneyGram operates around the world to provide U.S. consumers international

money transfers (called remittance transfers). Consumers depend on remittance transfers to

provide critical resources to family and friends or for other reasons.

       2)      MoneyGram operates through digital and in-person channels, including its

website and a global network of hundreds of thousands of agent locations. MoneyGram offers

remittance transfers from the United States to countries around the world, as well as other types
      Case 1:22-cv-03256-KPF          Document 107        Filed 01/24/25      Page 2 of 47




of money transfers and payment products.

       3)      In 2010, Congress adopted a new set of legal protections to apply to remittance

transfers, creating a new section 919 in the Electronic Fund Transfer Act (EFTA). To implement

those protections, the Bureau issued a rule known as the Remittance Rule, which makes

remittance transfers more transparent and less risky. The Remittance Rule requires providers

such as MoneyGram to disclose critical price and timing information about each transfer and

gives consumers the right to cancel a remittance transfer and receive a refund in certain

circumstances. It provides remedies for consumers when transfers go awry. And, the Remittance

Rule requires providers to create and maintain the basic process infrastructure needed to comply

with the Remittance Rule’s consumer protections.

       4)      The Remittance Rule took effect in October 2013. Even before that date,

MoneyGram knew that it would have to comply with the Remittance Rule and that doing so

would require changes in its operations. Yet, for years, MoneyGram has violated EFTA and the

Remittance Rule. MoneyGram has repeatedly given senders inaccurate information about when

their remittance transfers would be available to recipients abroad. MoneyGram has repeatedly

made disclaimers that suggest, wrongly, that certain undisclosed deductions in amounts sent to

recipients may be made later in the transaction. When consumers have complained of

remittance-transfer errors, MoneyGram has repeatedly failed to provide the investigations,

responses, or remedies required by the Remittance Rule. MoneyGram has also failed to comply

with policy-and-procedure and document-retention requirements. And, through language

included in required disclosures, MoneyGram has sought to deprive consumers of the protections

EFTA and the Remittance Rule provide, with language purporting to waive consumers’ rights.




                                                 2
      Case 1:22-cv-03256-KPF           Document 107        Filed 01/24/25       Page 3 of 47




       5)      MoneyGram engaged in unfair acts and practices by failing to timely make

remittance transfers available to recipients or to timely make refunds available to senders.

MoneyGram unnecessarily delayed transactions.

       6)      MoneyGram engaged in deceptive acts and practices, by including statements in

required disclosures and terms-and-conditions, that expressly conflict with EFTA and the

Remittance Rule.

       7)      Plaintiffs bring this action under sections 1031(a), 1036(a)(1), 1042, 1054, and

1055 of the Consumer Financial Protection Act of 2010 (CFPA), 12 U.S.C. §§ 5531(a),

5536(a)(1), 5552, 5564, 5565; EFTA, 15 U.S.C. §§ 1693 et seq., and its implementing

Regulation E, 12 C.F.R. pt. 1005 (which includes the Remittance Rule); and New York

Executive Law (N.Y. Exec. Law) § 63(12).

                                 JURISDICTION AND VENUE

       8)      This Court has subject-matter jurisdiction over this action because it is brought

under “Federal consumer financial law,” 12 U.S.C. § 5565(a)(1); presents a federal question,

28 U.S.C. § 1331; and is brought by an agency of the United States, id. § 1345.

       9)      This Court has supplemental jurisdiction over the State of New York’s state-law

claim because it is so related to the federal claims that they form part of the same case or

controversy. 28 U.S.C. § 1367(a).

       10)     Venue is proper, including because each of the Defendants resides and is located

or does business in this district. See, e.g., 12 U.S.C. § 5564(f); 28 U.S.C. § 1391(b)(1).




                                                  3
      Case 1:22-cv-03256-KPF            Document 107        Filed 01/24/25      Page 4 of 47




                                             PARTIES

Plaintiffs:

       11)     The Bureau is an independent agency of the United States charged with regulating

the offering and provision of consumer-financial products or services under “Federal consumer

financial laws.” 12 U.S.C. § 5491(a). The Bureau has independent litigating authority to enforce

these laws, including the CFPA, EFTA, and Regulation E. See 12 U.S.C. §§ 5481(14),

5564(a)-(b); 15 U.S.C. § 1693o(a)(5).

       12)     The State of New York, by its Attorney General, is authorized to act to enjoin

repeated and persistent fraudulent and illegal conduct under N.Y. Exec. Law § 63(12). The

NYAG is also authorized to initiate civil actions in federal district court to enforce provisions of

the CFPA. See 12 U.S.C. § 5552(a)(1).

Defendant MGI:

       13)     Defendant MoneyGram International, Inc. (MGI) is a Delaware corporation.

       14)     MGI is ultimately wholly owned by Madison Dearborn Partners, LLC, with other

legal entities in between MGI and Madison Dearborn Partners, LLC.

       15)     Madison Dearborn Partners, LLC is a private equity investment firm that is a

Delaware company with its principal office in Illinois.

       16)     MGI offers and provides remittance transfers to consumers.

       17)     MGI offers and provides remittance transfers principally through Defendant

MoneyGram Payment Systems, Inc.

       18)     MGI provides remittance transfers to consumers in the normal course of its

business.




                                                  4
      Case 1:22-cv-03256-KPF          Document 107        Filed 01/24/25     Page 5 of 47




       19)     MGI is a remittance transfer provider under EFTA and the Remittance Rule. See

15 U.S.C. § 1693o-1(g)(3); 12 C.F.R. § 1005.30(f)(1).

       20)     MGI’s remittance transfers involve transmitting funds and constitute payment

services.

       21)     MGI’s remittance transfers are offered to or provided for use by consumers

primarily for personal, family, or household purposes.

       22)     MGI engages in offering and providing consumer-financial products or services.

       23)     MGI is a covered person under the CFPA. See 12 U.S.C. §§ 5481(5), (6),

(15)(A)(iv), (15)(A)(vii).

       24)     MGI operates this district and across the United States to offer and provide

remittance transfers to consumers.

Defendant MPSI:

       25)     Defendant MoneyGram Payment Systems, Inc. (MPSI) is a Delaware corporation.

       26)     MPSI is a wholly owned subsidiary of MoneyGram Payment Systems

Worldwide, Inc.

       27)     MoneyGram Payment Systems Worldwide, Inc. is a Delaware corporation that is

a wholly owned subsidiary of MGI.

       28)     MPSI offers and provides remittance transfers to consumers.

       29)     MPSI provides remittance transfers to consumers in the normal course of its

business.

       30)     MPSI is a remittance transfer provider under EFTA and the Remittance Rule. See

15 U.S.C. § 1693o-1(g)(3); 12 C.F.R. § 1005.30(f)(1).




                                                5
         Case 1:22-cv-03256-KPF       Document 107        Filed 01/24/25      Page 6 of 47




         31)   MPSI’s remittance transfers involve transmitting funds and constitute payment

services.

         32)   MPSI’s remittance transfers are offered or provided for use by consumers

primarily for personal, family, or household purposes.

         33)   MPSI engages in offering and providing consumer-financial products or services.

         34)   MPSI is a covered person under the CFPA. See 12 U.S.C. § 5481(5), (6),

(15)(A)(iv), (15)(A)(vii).

         35)   MPSI operates this district and across the United States to offer and provide

remittance transfers to consumers.

Multiple Remittance Transfer Providers:

         36)   Because MGI and MPSI are remittance transfer providers involved in the same

remittance transfers, both “remain responsible for compliance with the applicable provisions of

the EFTA and Regulation E.” 12 C.F.R. pt. 1005, supp. I, cmt. 30(f) ¶ 3.

         37)   Under the Remittance Rule, as remittance transfer providers, MGI and MPSI are

liable for violations of the Remittance Rule by their agents when such agents act for that

provider. See 12 C.F.R. § 1005.35.

Common Enterprise:

         38)   MGI and MPSI operate as a common enterprise and have done so at all relevant

times.

         39)   MGI and MPSI have conducted the business acts and practices described herein

as interconnected companies.

         40)   MGI and MPSI together operate and control MoneyGram’s remittance transfer

services.



                                                 6
      Case 1:22-cv-03256-KPF           Document 107         Filed 01/24/25         Page 7 of 47




       41)     At all times since the Remittance Rule took effect, MGI and MPSI have used

branding and advertising that do not distinguish between the companies; have shared common

ownership; have shared key officers; and have shared one or more office addresses.

       42)     Accordingly, an act by one entity constitutes an act by each entity comprising the

common enterprise.

       43)     Because MGI and MPSI have operated as a common enterprise, MGI and MPSI

are each jointly and severally liable for the acts and practices alleged herein.

                       MONEYGRAM’S REMITTANCE TRANSFERS

       44)     Remittance transfers are certain electronic transfers of funds requested by

consumers in the United States (“senders”) to be received abroad by “designated recipients.”

       45)     The market for remittance transfers is significant. In multiple years since the

Remittance Rule took effect, consumers have sent an estimated 325 million or more remittance

transfers per year. MoneyGram has had a large share of this market.

       46)     MoneyGram offers and provides several types of remittance transfers.

MoneyGram sends cash-to-cash remittance transfers, where the sender pays cash, in-person, at

an outlet of one of MoneyGram’s storefront agents, to cover the transfer amount and any fees

and taxes. The designated recipient then collects the funds in cash, in person, in the appropriate

currency, at a MoneyGram agent or other MoneyGram outlet abroad. Historically, such

cash-to-cash transfers have been MoneyGram’s primary service. MoneyGram also offers other

types of remittance transfers, including those that can be funded and/or collected through

non-cash payment devices such as bank accounts, debit cards, or mobile wallets. In April 2020,

MoneyGram began offering consumers the ability to schedule a series of remittance transfers in

advance.



                                                  7
      Case 1:22-cv-03256-KPF            Document 107       Filed 01/24/25       Page 8 of 47




        47)    Individual consumers use MoneyGram’s remittance-transfer services to send

amounts in the hundreds or thousands of dollars per transfer.

        48)    A significant portion of MoneyGram’s money-transfer transactions, which

include its remittance transfers, have been initiated by immigrants or refugees sending money to

their countries of origin. Available data suggest many of MoneyGram’s remittance transfer

customers are financially vulnerable.

        49)    Consumers have commonly turned to MoneyGram remittance transfers to help

relatives, friends, or others with essential or urgent needs, such as emergencies, healthcare, food,

housing, and transportation.

        50)    For instance, MoneyGram customers who have experienced MoneyGram’s delays

in getting the consumers’ money to their intended recipients include those who reported sending

money: to the consumer’s mother for food; to the consumer’s wife for food; to a sister for food

and medicine; to a daughter for school fees and medicine; to address an emergency for someone

with a delicate health condition needing medical attention; or to the consumer’s mother for

medication in an emergency.

        51)    MGI has repeatedly publicized the use of its remittance transfers to fund life

essentials.

        52)    MoneyGram has repeatedly promoted its remittance transfers as fast and reliable,

and cited speed as one of the reasons it believes customers use its services.

        53)    MoneyGram’s marketing and advertising material use terms such as “fast,” “real

time,” “trusted,” “reliable,” “in minutes,” and “convenient” to describe the products. In October

2022, MGI began sponsoring a race car team, announcing in a press release: “MoneyGram, the

fastest way to send money globally, is teaming up with the fastest sport in the world.”



                                                 8
      Case 1:22-cv-03256-KPF           Document 107         Filed 01/24/25      Page 9 of 47




       54)     MoneyGram measures the speed of its remittance-transfer options in minutes,

hours, or days. Its website describes the “speed” of remittance transfers to foreign bank accounts

as next-day, same-day, or available in as little as one or three hours, depending on the destination

country; cash-pickups, it states, can be available in minutes. What MoneyGram has described as

an “economy” service was a three-day service.

       55)     MoneyGram purposefully offers and provides remittance transfers through

multiple channels, which operate across the United States. For instance:

               a)      MoneyGram offers and provides remittance transfers through storefront

                       agent locations. These locations are outlets of local retailers, chain

                       retailers, and other companies that contract to serve as MoneyGram’s

                       in-person presence and sell MoneyGram remittance transfers. Such

                       locations are in this district, throughout New York, and across the country,

                       including in all 50 states, the District of Columbia, and Puerto Rico.

               b)      MoneyGram also makes available to consumers across the United States,

                       including consumers in this district and throughout New York, an

                       interactive website and an interactive mobile application, either of which

                       consumers can use to initiate remittance transfers.

               c)      During portions of the period since the Remittance Rule went into effect,

                       MoneyGram has offered and provided remittance transfers through stores

                       owned by MoneyGram of New York LLC, a subsidiary of MGI that sold

                       MoneyGram’s remittance transfers principally in New York and Georgia.




                                                  9
      Case 1:22-cv-03256-KPF            Document 107         Filed 01/24/25      Page 10 of 47




        56)     MoneyGram’s remittance transactions with consumers, whether through its

storefront agent locations or online, thus have occurred in this district, all 50 states, the District

of Columbia, and Puerto Rico.

        57)     In the State of New York alone, for example, MoneyGram has made its website

and mobile application available for use by New York consumers, and consumers in this district

and elsewhere in New York have initiated remittance transfers online. MoneyGram has also

conducted remittance transfers through more than 1,300 storefront agent locations in the state

over the last seven years—at least 300 of which have been located in this district. Such locations

include the outlets of a chain of check-cashing stores in Manhattan and the Bronx; a national

chain pharmacy with locations in the Bronx, Manhattan, and Westchester, Putnam, Dutchess,

Rockland, and Orange Counties; a national box store chain with locations in Westchester,

Dutchess, Orange, and Sullivan Counties; and many local businesses, including, but not limited

to, a hair salon in Manhattan, a pawn shop in Manhattan, local grocery stores in Manhattan, the

Bronx, and Westchester and Rockland Counties, a hardware store in the Bronx, mini-markets

and variety stores in Westchester County, and local pharmacies throughout Manhattan, the

Bronx, and Westchester County.

        58)     MoneyGram’s remittance transfers have also earned revenue in this district and

nationwide, including from remittance-transfer fees and the exchange-rate mark-ups of funds

sent in U.S. dollars and received in a foreign currency.

        59)     MoneyGram makes its storefront agents responsible for critical portions of the

company’s remittance transfer operations, across the United States. MoneyGram’s storefront

agents act for MoneyGram, in helping offer and provide the company’s remittance transfers. The




                                                   10
     Case 1:22-cv-03256-KPF          Document 107        Filed 01/24/25      Page 11 of 47




storefront agents constitute “agents” of Defendants under the Remittance Rule. See 12 C.F.R.

§ 1005.30(a). For example:

               a)     At their in-person locations, the storefront agents are responsible for

                      producing and providing to consumers the pre-payment disclosures and

                      receipts required by EFTA and the Remittance Rule; accepting senders’

                      payments; and initiating remittance transfers.

               b)     MoneyGram’s storefront agents receive requests and complaints from

                      remittance senders, including notices of error about MoneyGram

                      remittance transfers necessitating specific responses under the Remittance

                      Rule, 12 C.F.R. § 1005.33, and cancellation requests necessitating action

                      under the Remittance Rule, id. § 1005.34.

               c)     Storefront agents nationwide have been responsible for retaining certain

                      remittance-transfer records on MoneyGram’s behalf, during periods since

                      the Remittance Rule went into effect.

       60)     MoneyGram has operations in many locations outside of its storefront agent

locations. For example, in periods since the Remittance Rule has been in effect:

               a)     MGI and/or MPSI employees have been based in at least 27 different

                      states, including New York, and the District of Columbia.

               b)     MGI and/or MPSI has had offices in at least seven U.S. states and the

                      District of Columbia, as well as relied on individuals working remotely.

               c)     Minnesota is, and has long been, the principal place of business of MPSI

                      and the site of MPSI’s principal executive office.




                                               11
     Case 1:22-cv-03256-KPF           Document 107        Filed 01/24/25      Page 12 of 47




               d)      Though MGI has used the word “headquarters” to refer to a Dallas

                       address, MGI advertises that its “team spans the globe with over 2,000

                       employees across 36 countries.”

       61)     MoneyGram’s remittance-transfer operations take place in multiple locations, in

addition to the retail outlets of storefront agents. For example, in periods since the Remittance

Rule has been in effect:

               a)      In New York City, MoneyGram maintained a regional compliance team

                       serving as MoneyGram’s “eyes and ears” in executing compliance

                       requirements. Regional compliance officers in and near New York City

                       oversaw and evaluated New York agents’ and certain other agents’

                       compliance with the Remittance Rule, CFPA, and other laws. The regional

                       compliance officers went to agents’ locations in this district and elsewhere

                       to review the agents’ work on behalf of MoneyGram, as well as conducted

                       other oversight activities.

               b)      MoneyGram also maintained regional compliance teams in at least eight

                       other states (Arizona, California, Colorado, Florida, Georgia, Illinois,

                       Massachusetts, and Texas).

               c)      MoneyGram’s Chief Operating Officer and Chief Information Officer are

                       in Minnesota. From Minnesota, MoneyGram has led agent-network

                       oversight, deployment of new products, customer care, global information

                       technology operations, and changes in the systems agents use to produce

                       required disclosures, initiate remittance transfers, or make related refunds.

                       Minnesota has been a center for MoneyGram’s “Global Operations” staff;



                                                 12
     Case 1:22-cv-03256-KPF            Document 107           Filed 01/24/25   Page 13 of 47




                        a data center critical to MoneyGram’s money transfers; the records

                        management department; and other critical functions.

                 d)     MoneyGram has used other companies in multiple locations to help with

                        critical functions such as: making remittance transfers available to

                        designated recipients; providing remittance-related refunds; and receiving

                        the consumer notices of error that require specific responses under the

                        Remittance Rule.

                      DEFENDANTS’ UNLAWFUL ACTS AND PRACTICES

Defendants’ Supervisory History with the Bureau:

       62)       Between 2014 and 2016, the Bureau conducted certain supervisory examinations

of Defendants.

       63)       These initial exams resulted in the Bureau notifying Defendants of several

problematic practices, including:

                 a)     that their weak and inadequate compliance management system failed to

                        prevent, timely detect, or promptly correct violations of the Remittance

                        Rule;

                 b)     that Defendants had committed certain, specific violations of the

                        Remittance Rule; and

                 c)     that Defendants had committed unfair acts or practices in violation of the

                        CFPA, 12 U.S.C. §§ 5531(a), 5536(a)(1)(B), in connection with their

                        failure to promptly release remittance transfers that had been cleared by

                        their internal screening processes.




                                                 13
     Case 1:22-cv-03256-KPF          Document 107          Filed 01/24/25    Page 14 of 47




        64)    The initial exams also resulted in the Bureau issuing to Defendants twelve Matters

Requiring Attention, or MRAs, which are the vehicles the Bureau uses to convey supervisory

expectations and specific goals to be accomplished to address violations of the law or

compliance deficiencies.

        65)    In 2019, the Bureau began a follow-up examination of Defendants to assess

whether Defendants had come into compliance with the MRAs, the Remittance Rule, and the

CFPA.

        66)    The 2019 follow-up exam resulted in the Bureau notifying Defendants that their

compliance program remained seriously deficient, that they had failed to satisfy eight of the

twelve outstanding MRAs, and that they had failed to demonstrate that they employed a

reasonable process to promptly release remittance transfers that had been cleared by internal

screening processes, resulting in a risk of harm to consumers.

Defendants’ Violations of the Remittance Rule:

EFTA and the Remittance Rule:

        67)    In 2010, Congress adopted, and the President signed into law, the CFPA, which,

among other things, amended EFTA to add section 919 (15 U.S.C. § 1693o-1). EFTA § 919

created a new, comprehensive system of consumer protections for remittance transfers. The new

protections followed a Senate committee conclusion that existing legal rules were inadequate for

consumers who, while sending substantial portions of their incomes to family members abroad,

faced overcharges, delivery failures, or other problems.

        68)    To implement EFTA § 919, the Bureau added a subpart B to its EFTA

implementing regulation, Regulation E. Known as the “Remittance Rule,” the new regulatory

requirements became effective on October 28, 2013.



                                                14
     Case 1:22-cv-03256-KPF           Document 107         Filed 01/24/25      Page 15 of 47




Disclosure protections

       69)     The Remittance Rule includes disclosure requirements that can help consumers

have clear and reliable information about remittance transfers and thus better understand what

they are purchasing, manage their finances, compare providers’ costs and offerings, and identify

problems when they occur. As such, the Remittance Rule generally requires that a provider tell

the sender the “availability date” for a transfer, which is the date in the foreign country on which

funds will be available to the designated recipient; provide critical information about transfer

amounts and costs; inform senders of their rights to cancel transfers; and indicate how the

consumer can report a problem.

       70)     Disclosures are generally required at two points in the transaction process. First, a

provider must generally give a sender certain information in a “pre-payment disclosure,” at the

time the sender requests the remittance transfer, but prior to payment for such transfer. Then, if a

sender proceeds with the transfer, the provider must give the sender a “receipt.” The receipt

includes the same information as the pre-payment disclosure, plus additional information such as

the availability date, and usually must be provided to the sender when payment is made for the

remittance transfer. Alternatively, the provider can provide a sender all required information in a

“combined disclosure,” at the time of the consumer’s request. 12 C.F.R. § 1005.31(b)(1)-(3), (e);

see also id. § 1005.36(a) (certain exceptions for series of pre-authorized transfers).

       71)     The availability-date disclosure requirement applies to all remittance transfers

except for a narrow set of remittance transfers that are pre-scheduled in a series. Whenever the

Remittance Rule requires an availability-date disclosure, that date must be accurate for the

transfer to which it applies. If a provider does not know the exact date when funds will be

available to the designated recipient, the provider may provide the latest date when funds will be



                                                 15
     Case 1:22-cv-03256-KPF            Document 107         Filed 01/24/25      Page 16 of 47




available. The provider may also disclose that funds may be available to the designated recipient

on a date earlier than the one disclosed. But the provider does not comply with the Remittance

Rule if its disclosures provide an estimate or range of dates for a particular transfer’s availability

date. See 12 C.F.R. §§ 1005.31(b)(ii), (f), 1005.36(a), (b); id. pt. 1005, supp. I, cmt. 31(b)(2) ¶ 1.

       72)     When a remittance transfer is sent to a person using that recipient’s bank or other

account, the availability date under the Remittance Rule is the date when the funds will be

available to that person in that person’s account—not the date when the funds will be available to

the institution holding the account. The “designated recipient,” in such instance, would be the

person receiving the funds through the account, not the account-holding company, as

Defendants’ own receipts recognize. See 12 C.F.R. § 1005.30(c).

       73)     Each pre-payment disclosure, receipt, or combined disclosure for a remittance

transfer must contain the following information about transfer amounts and costs: the amount

that will be transferred to the designated recipient (“transfer amount”); the amount to be received

by the designated recipient, in the currency in which the funds will be received (“total to the

recipient”); fees, taxes, and any exchange rate; and certain subtotals. See 12 C.F.R.

§§ 1005.31(b), 1005.36(a). The fee and tax disclosures, in particular, include taxes collected on

the remittance transfer by the provider, plus two categories of fees: those “imposed . . . by the

provider” and any “covered third-party fees.” Id. § 1005.31(b)(1)(ii), (vi).

       74)     Remittance transfer providers’ pre-payment disclosures, receipts, or combined

disclosures omit two categories of fees and taxes in their calculation of the amount to be received

by the designated recipient. The first is “non-covered” third party fees, which are those “imposed

by the designated recipient’s institution for receiving a remittance transfer into an account except

if the institution acts as an agent of the remittance transfer provider,” 12 C.F.R. § 1005.30(h)(2).



                                                  16
     Case 1:22-cv-03256-KPF            Document 107         Filed 01/24/25       Page 17 of 47




The second consists of taxes collected by someone other than the remittance transfer provider.

See id. §§ 1005.31(b)(1)(vii), (2)(i), (3)(i), 1005.36(a). Pre-payment disclosures, receipts, and

combined disclosures must state that such non-disclosed fees or taxes may apply to the

remittance transfer and result in the designated recipient receiving less than the amount

disclosed—if that is true. But a provider may only include such a statement to the extent that

such fees or taxes do or may apply to the transfer. Id. §§ 1005.31(b)(1)(viii), (2)(i), (3)(i),

1005.36(a).

Cancellation rights

       75)     The Remittance Rule also provides consumers the right to cancel most remittance

transfers within 30 minutes of payment and receive a full refund within three business days,

unless the funds have already been picked up by the designated recipient or deposited into that

person’s account. See 12 C.F.R. § 1005.34. This cancellation right allows consumers to review

their receipts to correct any mistakes or confirm they wish to complete the transaction with the

fees, exchange rate, and availability date disclosed.

Error-resolution protections

       76)     The Remittance Rule’s error-resolution provisions require a provider to

investigate certain sender requests and complaints and provide specified remedies for the types

of errors covered by the Remittance Rule, according to indicated timelines and using mandated

procedures. See 12 C.F.R. § 1005.33.

       77)      Five types of errors are covered by the Remittance Rule: (i) incorrect amounts

paid by senders, (ii) computational or bookkeeping errors by providers, (iii) failures to make the

right amount of money available to designated recipients, (iv) failures to make funds available to

designated recipients by the disclosed date of availability, and (v) senders’ requests for copies of



                                                  17
     Case 1:22-cv-03256-KPF           Document 107        Filed 01/24/25      Page 18 of 47




receipts or certain other information, documentation, or clarification, including requests made to

determine whether another type of error exists. See 12 C.F.R. § 1005.33(a)(1)(i)-(v).

       78)     When applicable errors occur, the Remittance Rule requires providers to give

remittance senders certain remedies, such as making missing funds available to the designated

recipient, returning funds to the sender, and/or refunding fees charged. See 12 C.F.R.

§ 1005.33(c)(2).

Other protections

       79)      The Remittance Rule requires a remittance transfer provider to adopt policies and

procedures “designed to ensure compliance” with error-resolution requirements. See 12 C.F.R.

§ 1005.33(g)(1).

       80)     The Remittance Rule also requires a provider to ensure retention of error-related

documentation, with written policies and procedures that ensure, at a minimum, the retention of

any notices of error submitted by a sender, documentation provided by the sender to the provider

with respect to the alleged error, and the findings of the remittance transfer provider regarding

the investigation of the alleged error. See 12 C.F.R. § 1005.33(g)(2).

       81)     The Remittance Rule states that remittance transfer providers are subject to a

general Regulation E requirement, in 12 C.F.R. § 1005.13(b), to retain evidence of EFTA and

Regulation E compliance for two years. See 12 C.F.R.§ 1005.33(g)(2).

       82)     EFTA § 916(a), 15 U.S.C. § 1693m(a), provides consumers a right of action

against any person who fails to comply with EFTA, subject to certain qualifications. That private

right of action allows consumers to seek actual damages, attorney’s fees and costs, and statutory

damages.




                                                18
        Case 1:22-cv-03256-KPF        Document 107         Filed 01/24/25      Page 19 of 47




         83)   EFTA § 914, 15 U.S.C. § 1693l, provides that “[n]o writing or other agreement

between a consumer and any other person may contain any provision which constitutes a waiver

of any right conferred or cause of action created by” EFTA (with certain exceptions inapplicable

here).

Defendants’ inaccurate and unlawful availability-date disclosures:

         84)   Defendants have repeatedly failed to provide accurate availability-date disclosures

for remittance transfers, when such disclosures were required.

         85)   Defendants’ own assessments of consumers’ complaints show that the availability

dates that Defendants disclosed to consumers, repeatedly, were wrong.

         86)   Defendants, themselves, found multiple delays in making remittance-transfer

funds available to designated recipients. These delays included ones that Defendants recognized

as errors under the Remittance Rule, 12 C.F.R. § 1005.33(a)(1)(iv), through their response to

consumers or internal coding or descriptions of complaints that Defendants matched with

“errors” described in section 1005.33(a)(1)(iv). Section 1005.33(a)(1)(iv) defines as “errors”

certain failures to make funds available to a designated recipient by the date of availability

disclosed for that transfer. A section 1005.33(a)(1)(iv) delay in making funds available means

the date of availability that was provided to the consumer was inaccurate under the Remittance

Rule.

         87)   Defendants have recognized repeated section 1005.33(a)(1)(iv) delay errors since

the Remittance Rule went into effect, including after 2016. These delay errors, and

accompanying inaccurate disclosures, have occurred into 2024.

         88)   Defendants’ inaccurate availability-date disclosures have affected consumers in

this district, throughout New York, and across the country.



                                                 19
     Case 1:22-cv-03256-KPF           Document 107         Filed 01/24/25     Page 20 of 47




       89)     For example, in just one 15-month period, ending in March 2020, New York

consumers who initiated remittance transfers at one of Defendants’ New York agent locations or

online suffered more than 200 recognized delay errors under section 1005.33(a)(1)(iv)—and thus

had received an inaccurate availability-date disclosure. Dozens of those errors were suffered by

consumers who used an agent located in this district or lived in this district and received the

inaccurate disclosure online.

       90)     Consumers close to New York and this district have also received inaccurate

availability-date disclosures. For example, in the 15 months ending in March 2020, Defendants

recognized more than 300 delay errors under section 1005.33(a)(1)(iv) suffered by consumers in

New Jersey, Pennsylvania, Massachusetts, or Connecticut.

       91)     Defendants’ inaccurate availability-date disclosures have included instances in

which Defendants took consumers’ money for the transfer, but never made any funds available

to the designated recipient.

       92)     In other instances when Defendants disclosed inaccurate availability dates,

Defendants made the funds available to the right person—but later than promised.

       93)     Defendants’ inaccurate availability-date disclosures have included disclosures that

were inaccurate because they were not possible as written, such as because the disclosed

availability date had already passed in the foreign country where the funds were to be received;

or because the receipt stated that funds may be available sooner than the disclosed date when, in

fact, funds could not be available sooner than the disclosed date.

       94)     Defendants’ inaccurate availability-date disclosures have harmed consumers. For

instance, when consumers’ transfers do not arrive as promised, the consumers are deprived of the

control over, and use of, their funds for an unexpected period and do not receive the service for



                                                 20
     Case 1:22-cv-03256-KPF            Document 107        Filed 01/24/25      Page 21 of 47




which they paid: transmission of money to family members, friends, or others by the promised

date. Consumers face additional harm from inaccurate availability-date disclosures, and

accompanying delays in transfers, when the timing of a transfer is critical, or when, because of

their financial circumstances, they do not have uncommitted funds to replace money subject to a

delay in transmission or refund. Consumers’ injuries can be magnified during periods of lengthy

delay.

Defendants’ inaccurate and unlawful disclosures regarding deductions of fees and taxes:

         95)     Since the Remittance Rule went into effect, Defendants have repeatedly provided

disclosures to senders that include a statement indicating that the designated recipient may

receive less than the amount disclosed, due to deductions of amounts including certain

third-party fees or taxes (“non-covered fee and tax statement”).

         96)     In multiple instances, Defendants’ non-covered fee and tax statements, as worded,

were not true.

         97)     For example, the Remittance Rule requires that the provider disclose to the sender

all fees charged for a transfer and include such charges in the calculation of the “total to

recipient,” except for fees imposed by the designated recipient’s institution for receiving a

remittance transfer into an account when such institution is not acting as an agent of the

remittance transfer provider. Repeatedly, and including after the start of 2024, Defendants have

inserted a “non-covered fee and tax statement,” referring to both fees and taxes, in their receipts

for remittance transfers other than those received into an account where the designated

recipient’s institution is not acting as an agent of Defendants. Defendants have included these

statements in such receipts for transfers sent by consumers including those in this district or

sending a remittance transfer from an agent location in this district.



                                                 21
      Case 1:22-cv-03256-KPF           Document 107        Filed 01/24/25      Page 22 of 47




        98)     Defendants’ inclusion of an inapplicable disclaimer about the amount the

designated recipient will receive impedes the transparency and certainty that the Remittance

Rule’s required disclosures help provide. For example, the inclusion of such an inapplicable

disclaimer may stop a consumer from noticing an error in the amount of funds made available to

the designated recipient. The consumer may presume that the reduction is due to a charge of a

non-covered third party fee, when in fact the reduction is improper.

Defendants’ error-resolution violations:

        99)    After the Remittance Rule became effective, Defendants repeatedly ignored the

Remittance Rule’s error-resolution requirements in the following ways, one or more of which

applied to the notices of error at issue:

                a)      The Remittance Rule requires Defendants to investigate notices of error

                        promptly and determine, within 90 days, whether an error occurred. But

                        Defendants have repeatedly failed to investigate notices of error promptly

                        or to determine whether an error occurred by the 90-day deadline. For

                        example, in multiple instances, Defendants summarily rejected notices of

                        error in which consumers indicated that remittance transfers had not been

                        made available to designated recipients on time. Defendants rejected these

                        notices and closed the investigations based on incomplete and

                        non-dispositive information, such as the fact that a consumer who already

                        complained to Defendants did not again contact Defendants within a

                        certain time frame. Defendants closed the investigations without stating

                        they were correcting any error and without determining that, in fact, a

                        delay error did not occur. At least some of these investigation failures



                                                 22
Case 1:22-cv-03256-KPF      Document 107         Filed 01/24/25      Page 23 of 47




             were part of what Defendants called a “Backlog Account Deposit

             Reducing” project.

       b)    In multiple instances, Defendants’ responses to consumers’ notices of

             error were deficient. Even if Defendants conducted an investigation and

             reached a determination, they repeatedly failed to inform consumers of the

             results of such error investigation or to do so within the Remittance Rule’s

             required time frame. For example, Defendants provided written

             communications to consumers following their investigation that omitted

             the required conclusion—whether an error occurred or not. Final

             responses to error-notices omitted this conclusion including when

             Defendants, internally, deemed the complaint rejected and did not remedy

             the alleged error, and when Defendants upheld the complaint.

       c)    When Defendants concluded that no error occurred, Defendants, in

             multiple instances, failed to provide the required written explanation of

             findings that also addressed the specific complaint raised by the sender or

             failed to notify consumers of their right to request certain documents used

             in an error investigation. For instance, Defendants responded to transfer-

             delay complaints that Defendants internally rejected, with written

             communications that did not address whether the transfer was made

             “available to a designated recipient by the date of availability stated in the

             disclosure provided to the sender” (or otherwise explain a conclusion that

             there was no error).




                                       23
     Case 1:22-cv-03256-KPF          Document 107         Filed 01/24/25     Page 24 of 47




               d)     In multiple instances, Defendants recognized that they had committed an

                      error under the Remittance Rule by failing to make a remittance transfer

                      available to the designated recipient by the date disclosed to the sender,

                      but then Defendants failed to provide the fee refund that the Remittance

                      Rule requires that they pay as part of the remedy for such errors.

       100) Conduct described in each subparagraph of paragraph 99 occurred for notices of

error that included those received after 2016 where:

               a)     Defendants deemed the notice of error covered by the Remittance Rule’s

                      error-resolution requirements; or

               b)     Defendants’ data showed that: the notice of error was from a sender;

                      Defendants received the notice 180 days from the disclosed availability-

                      date or sooner; Defendants were able to identify the applicable remittance

                      transfer, the sender and his or her address, the designated recipient, and

                      the designated recipient’s address when known; and the sender described

                      his or her concern with enough detail for Defendants to categorize the

                      concern at issue (such as by labelling it a “deposit delay” or “funds not

                      available by disclosed date”).

       101) Conduct described in each subparagraph of paragraph 99 also occurred for notices

of error that are described in paragraph 100(b); that were received after 2016; and that were from

consumers in this district or elsewhere in New York, sending the transfer from an agent in New

York or online.

       102) Thus, consumers in this district and other New York consumers, described in

paragraph 101, suffered from unpaid, required fee refunds, after 2016.



                                               24
     Case 1:22-cv-03256-KPF           Document 107         Filed 01/24/25       Page 25 of 47




       103) New York consumers also suffered from other failures by Defendants to provide

required error-resolution protections. For example, Defendants’ summary rejections of

complaints about delayed remittance transfers (described in paragraph 99(a)) included rejection

of complaints that were from consumers in this district and elsewhere in New York, that were

made after 2016, and that satisfied the conditions in paragraph 100(b).

Defendants’ violations of the Remittance Rule’s compliance requirements:

       104)    Defendants failed to develop and maintain written policies and procedures that

were designed to ensure compliance with the Remittance Rule’s error resolution requirements.

Such failures occurred after the Remittance Rule went into effect, including after 2016. The

relevant written policies and procedures applied nationwide to notices of error that triggered the

Remittance Rule’s error-resolution procedures. Those policies and procedures suffered from the

following defects:

               a)      Defendants’ policies and procedures lacked guidance sufficient to enable

                       consistent identification of all errors that were covered by the Remittance

                       Rule and were therefore subject to the Remittance Rule’s error-resolution

                       requirements. For example, in policies and instructions to individuals

                       handling remittance-transfer complaints, Defendants provided incomplete

                       lists that failed to identify certain types of errors that require responses and

                       remedies under the Remittance Rule. Defendants’ software incorrectly

                       coded some Remittance Rule notices of error as outside the Remittance

                       Rule’s jurisdiction.

               b)      Defendants’ policies and procedures were inadequate to ensure that

                       Defendants responded to Remittance-Rule error-notices by investigating



                                                 25
Case 1:22-cv-03256-KPF      Document 107         Filed 01/24/25      Page 26 of 47




             promptly and making a determination, within 90 days, whether an error

             had occurred. For instance, one policy directed employees to close certain

             potential delay-error files without an investigation, a remedy, or an actual

             determination whether a delay-error occurred.

       c)    Defendants’ policies and procedures were not designed to ensure that

             Defendants provided investigation results as required, or that Defendants

             appropriately responded to consumers when Defendants determined that

             no error occurred or determined that an error occurred differently from

             what the sender described. For example, in instances when Defendants’

             internal coding showed that they had rejected senders’ notices of error that

             met the conditions described in paragraph 100(b), Defendants repeatedly

             responded to consumers with language that appeared to repeat prescribed,

             undifferentiated boilerplate text that omitted investigation results or

             adequate explanations of their findings that addressed the sender’s specific

             complaint.

       d)    Defendants used error-resolution policies and procedures that failed to

             address, inaccurately or inconsistently described, or lacked guidance on

             how to implement other requirements of the Remittance Rule’s error-

             resolution protections. For example, Defendants’ policies and procedures

             that address delay errors described in 12 C.F.R. § 1005.33(a)(1)(iv)

             provided inconsistent guidance on when Defendants should issue fee

             refunds to consumers, and gave incorrect instructions not to issue fee

             refunds to remittance senders suffering from certain section



                                       26
     Case 1:22-cv-03256-KPF           Document 107         Filed 01/24/25      Page 27 of 47




                       1005.33(a)(1)(iv) delay errors for which fee refunds are part of the

                       required remedy.

       105)    After the Remittance Rule went into effect, Defendants repeatedly failed to

develop and maintain written policies and procedures that would ensure the retention of

documentation related to error investigations, including: any notices of error submitted by a

sender; documentation provided by the sender to the provider with respect to the alleged error; or

the findings of the remittance transfer provider regarding the investigation of the alleged error.

       106)    Even Defendants’ written policies and procedures that did address record

retention or the Remittance Rule’s requirements in some regard ignored the two-year retention

requirements for certain remittance-transfer error-resolution documentation, mentioned the

requirements only in general terms, relied on an incomplete definition of the term “error” under

the Remittance Rule, or otherwise lacked detail and instruction sufficient to ensure the retention

of required error-related documentation—including after 2016.

       107)    For instance, Defendants maintained a nationwide policy that their storefront

agents should retain error-related documents, when those agents received notices of remittance-

transfer errors from consumers.

       108)    Including after 2016, Defendants’ written instructions to their storefront agents

nationwide regarding document retention either did not define the term “error”; failed to mention

the need to save error-related documentation for two years or buried a mention of Remittance-

Rule retention in a footnote to other retention-related instructions; did not instruct agents on how

to calculate the Remittance Rule’s retention period; or relied on language that failed to

communicate clearly which remittance-transfer error documentation agents should save.




                                                 27
     Case 1:22-cv-03256-KPF           Document 107         Filed 01/24/25      Page 28 of 47




       109)    In some instances, Defendants’ training material and other communication to

storefront agents on compliance with the Remittance Rule did not mention any requirement to

retain remittance-transfer error-resolution records for at least a two-year period.

       110)    Defendants failed to actually maintain records of compliance with EFTA and the

Remittance Rule for the required period, which is at least two years from the date disclosures are

required to be made or action is required to be taken. Even when Defendants’ policies indicated

that they aimed to retain certain records as evidence of compliance with the Remittance Rule, in

multiple instances, Defendants failed to retain such evidence for two years.

       111)    For example, at least by 2017, Defendants’ instructions to their agents regarding

record retention and compliance with EFTA and the Remittance Rule reflected a nationwide

policy that, as part of such compliance, agents should save a modified version of the remittance-

transfer receipts that the agents were required to provide to consumers. Defendants focused on

having agents save these modified receipts rather than, for example, directing their agents to save

full copies of all remittance-transfer disclosures that the agents provided to consumers, or

directing the agents to save copies of other documents related to disclosures that would

demonstrate, on Defendants’ behalf, the agents’ compliance with EFTA § 919 and the

Remittance Rule.

       112)    The content of the modified receipts was different from that of the actual receipts

that agents provided to consumers and, in at least some instances, omitted information that would

reveal compliance or noncompliance. For example, when Defendants have provided inapplicable

“non-covered fee and tax statements” to consumers, the modified versions of the receipts have

not always reflected that such inapplicable statements were made.




                                                 28
     Case 1:22-cv-03256-KPF             Document 107       Filed 01/24/25      Page 29 of 47




       113)    At a time when Defendants were instructing agents to save modified

remittance-transfer receipts for two years, Defendants’ agents did not save even those modified

copies of all receipts for two years.

       114)    Additionally, in 2019, Defendants recognized that they should save copies of their

final written responses to remittance-transfer error-notices, indicating in internal materials that

Defendants considered this retention policy part of their Remittance-Rule compliance. But at

least in the surrounding period, Defendants failed to retain some of these letters for two years.

The letters that Defendants failed to retain included letters that were written in 2018, 2019, and

2020 and that were sent to consumers in this district and elsewhere.

Defendants’ deceptive statements and attempts to waive consumers’ rights:

Defendants’ disclosure statements that misrepresent and purport to waive consumers’ rights

       115)    Defendants have repeatedly provided remittance senders with required

disclosures, including receipts, stating that “MoneyGram is not responsible for losses resulting

from your failure to provide correct bank account numbers, financial institution identifiers, email

addresses, or other necessary account information” or using similar language representing either

that MPSI is not responsible or that neither Defendant is responsible for losses resulting from a

sender’s failure to provide correct information about bank account numbers and financial

institution identifiers—or for losses resulting from a sender’s failure to provide correct

information about other details. Defendants have provided such disclosures to consumers

including remittance senders in this district and elsewhere who were sending remittance transfers

to be received by designated recipients in their accounts, even after the start of 2024.

       116)    The language described in paragraph 115 is inconsistent with rights afforded to

consumers under EFTA and the Remittance Rule.



                                                 29
     Case 1:22-cv-03256-KPF            Document 107        Filed 01/24/25       Page 30 of 47




       117)    Under EFTA and the Remittance Rule, a remittance transfer provider may have

error-resolution obligations to the sender when that provider fails to make the sender’s funds

available to the designated recipient by the disclosed availability date. See 15 U.S.C.

§ 1693o-1(d); 12 C.F.R. § 1005.33(a)(iv), (c).

       118)    A provider’s obligation under EFTA and the Remittance Rule to provide a

remedy to the sender for such a delay can be excused if the delay results from certain sender

mistakes. But the exception is narrow. It only applies if the sender provided an incorrect account

number or recipient institution identifier for the designated recipient’s account or institution—

and if the provider meets other consumer-protective conditions set forth in 12 C.F.R.

§ 1005.33(h). See 12 C.F.R. § 1005.33(a)(1)(iv)(D). This narrow exception is not triggered by

sender mistakes about other information, including email addresses; account information other

than an account number; or information about accounts held by institutions other than banks,

savings associations, credit unions, or equivalent institutions. See id. § 1005.33(a)(iv)(D); id. pt.

1005, supp. I, cmt. 33(a) ¶ 9.

“Terms and Conditions” that misrepresent consumers’ rights

       119)    Defendants have stated in their receipts for remittance transfers initiated online

that the transactions are subject to “MoneyGram Terms and Conditions.”

       120)    Defendants have used “Terms and Conditions” documents for their website

(moneygram.com) and mobile site that include the clauses listed below in paragraphs 121

through 125. Defendants have used such terms in multiple versions of the “Terms and

Conditions” since the Remittance Rule went into effect, including one in use in New York and

elsewhere after the start of 2024.




                                                 30
     Case 1:22-cv-03256-KPF            Document 107        Filed 01/24/25      Page 31 of 47




       121)    Defendants’ “Terms and Conditions” for their website and mobile site state that

for remittance transfers made to a person through a bank, prepaid card, or mobile wallet (rather

than disbursed at an agent or MPSI location) the transfer is deemed “disbursed by [MPSI] and

delivered, and [MPSI has] no further liability to [the sender], except as set forth below, when . . .

[MPSI has] transferred the relevant amount to the Issuer” of the relevant bank account, prepaid

card, or mobile wallet account. The remainder of such paragraph and the paragraph following

this statement do not address liability.

       122)    Defendants’ “Terms and Conditions” for their website and mobile site state that

for remittance transfers made to a person through a bank, prepaid card, or mobile wallet, MPSI

“IS NOT RESPONSIBLE FOR ANY DELAY WITH RESPECT TO WHEN FUNDS

REMITTED TO AN ISSUER . . . WILL BE MADE AVAILABLE OR CREDITED TO YOU,

OR ANY FAILURE OF AN ISSUER . . . TO ACCEPT OR PROPERLY PROCESS ANY

FUNDS REMITTED TO IT.”

       123)    Defendants’ “Terms and Conditions” for their website and mobile site state, “If,

after receiving a fully paid, timely, complete and accurate Transfer request in accordance with

this Agreement, [MPSI] does not complete a Transfer on time or in a correct amount according

to this Agreement, [MPSI] will be liable only for [the sender’s] proximately caused actual

damages, to the extent required by applicable law.”

       124)    Defendants’ “Terms and Conditions” for their website and mobile site state, “WE

ACCEPT NO RESPONSIBILITY FOR THE ACTS OR OMISSIONS OF AN ISSUER [of a

bank account, prepaid card, or mobile wallet account] . . . OR ANY OF THEIR SERVICE

PROVIDERS OR THEIR DESIGNEES.”




                                                 31
      Case 1:22-cv-03256-KPF          Document 107        Filed 01/24/25     Page 32 of 47




        125)    Defendants’ “Terms and Conditions” for their website and mobile site state that

MPSI “WILL NOT BE LIABLE TO [the sender]: (A) FOR ANY DELAYS OR MISTAKES,

OR ANY CLAIMS, LOSSES, OR DAMAGES, RESULTING FROM ANY

CIRCUMSTANCES BEYOND OUR CONTROL, INCLUDING, WITHOUT LIMITATION,

ACTS OF GOVERNMENTAL AUTHORITIES, NATIONAL EMERGENCIES,

INSURRECTION, WAR, OR RIOTS, (B) FOR ANY CLAIMS, LOSSES, OR DAMAGES

RESULTING FROM YOUR FAILURE TO COMPLY WITH THESE TERMS,

COMMUNICATION SYSTEM FAILURES, OR FAILURES OR MALFUNCTIONS

ATTRIBUTABLE TO YOUR EQUIPMENT, ANY INTERNET SERVICE, OR ANY

PAYMENT SYSTEM; (C) IF WE ARE UNABLE TO COMPLETE A TRANSFER BECAUSE

YOU HAVE INSUFFICIENT FUNDS FOR US TO DEBIT AGAINST OR THE FUNDS ARE

SUBJECT TO A HOLD, LEGAL PROCESS OR OTHER CLAIM RESTRICTING

TRANSFERS AT THE TIME WE ATTEMPT TO DEBIT YOUR BANK ACCOUNT OR

DEBIT CARD, OR THERE IS INSUFFICIENT CREDIT AVAILABLE ON YOUR CREDIT

CARD; (D) IF YOU DID NOT FOLLOW THE TRANSFER INSTRUCTIONS PROPERLY;

(E) IF YOU DID NOT PROVIDE US WITH CORRECT, COMPLETE OR TIMELY

INFORMATION; OR (F) IF YOUR RECEIVER REFUSES OR FAILS TO ACCEPT OR

COLLECT A TRANSFER.”

        126)    Each of the “Terms and Conditions” clauses described in paragraphs 121 through

125 is inconsistent with remittance senders’ error-resolution rights, under EFTA and the

Remittance Rule, 15 U.S.C. § 1693o-1(d); 12 C.F.R. § 1005.33. Those rights include remedies

for remittance transfers not made available to the designated recipient by the disclosed

availability date.



                                                32
     Case 1:22-cv-03256-KPF           Document 107        Filed 01/24/25      Page 33 of 47




       127)    Each of the “Terms and Conditions” clauses described in paragraphs 121 through

125 is inconsistent with consumers’ private right of action under EFTA, 15 U.S.C. § 1693m.

That private right of action can provide remedies for consumers when Defendants violate the law

such as by providing unlawful, inaccurate disclosures or failing to comply with remittance

transfer error-resolution requirements.

Defendants’ unfair acts and practices in violation of the CFPA:

       128)    The CFPA prohibits covered persons and service providers from engaging in

unfair acts and practices. 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

       129)    After the effective date of the Remittance Rule, Defendants repeatedly violated

the CFPA by failing to make remittance transfers timely available to designated recipients or to

make refunds timely available to senders, due to various system failures that resulted in

transactions becoming stuck in or “looping” in Defendants’ systems, or otherwise being

unnecessarily delayed.

       130)    Defendants’ systems served consumers across the country. The consumers

affected by these delays included remittance senders in this district who sent a transfer through

an agent location in this district or through MoneyGram Online, as well as other New York

remittance senders who sent a transfer through a New York agent location or online.

       131)    In the relevant instances in which transactions or refunds were delayed,

Defendants had already finished screening the relevant transfers and refunds for money

laundering or other risks—or the transfers were otherwise ready for the next steps in completion

or refund, which did not promptly proceed due to systems failures.

       132)    Defendants’ delays included circumstances where Defendants had addressed any

alerts or holds they placed on such transfers based on indicators of potential money laundering or



                                                33
      Case 1:22-cv-03256-KPF               Document 107    Filed 01/24/25      Page 34 of 47




other suspicious or prohibited activities, and then failed to timely make transfers available to

designated recipients or to timely make any refunds available to the senders, due to system

failures that occurred after this point.

        133)    In 2015, Defendants made a software update related to screening remittance

transfers for prohibited activity.

        134)    Defendants’ 2015 software update introduced new problems which, in some

instances, resulted in additional delays in making funds available after screening was complete.

        135)    Even after attempting to fix the 2015 software defect, Defendants continued

failing to make funds timely available to designated recipients or to make refunds timely

available to senders, due to system failures.

        136)    In 2017 and later, Defendants applied additional technology patches and updates

related to refunds or release of transactions but repeatedly failed to timely complete transfers or

refunds after resolving screening, alerts, or holds, or in other circumstances, due to systems

failures.

        137)    Even after 2017, Defendants repeatedly attributed delays in remittance transfers

or related refunds to transactions being stuck, looping, or otherwise caught by system failures.

        138)    Continuing at least into 2023, consumers report that when they contact

Defendants to complain about delays in their remittance transfers, Defendants tell them that

“technical” problems have occurred.

        139)    Defendants’ own guidance on unfair acts and practices has recognized that failing

to transmit a transaction in a timely manner, failing to post payments timely, failing to timely

release transactions once they are cleared from compliance holds, and failing to timely refund

consumers are unfair acts or practices.



                                                  34
     Case 1:22-cv-03256-KPF           Document 107        Filed 01/24/25      Page 35 of 47




         140)   Defendants’ acts and practices, in failing to make remittance transfer funds timely

available to designated recipients, or refunds timely available to senders, due to system failures,

caused or were likely to cause substantial injury to consumers.

         141)   For example: Delays in transfers or refunds deprive consumers of the control

over, and use of, their funds. Consumers lose access to their money or are delayed in being able

to use it. Delays prevent consumers from receiving the service for which they paid: timely

transmission of money to family members, friends, or others. Consumers face additional injury

from delays in transfers or refunds when the timing of a transfer is critical, or when, because of

their financial circumstances, they do not have uncommitted funds to replace money subject to a

delay in transmission or refund. Consumers’ injuries can be magnified during periods of lengthy

delay.

         142)   In multiple instances, Defendants’ system-failure delays held up consumers’

money for weeks or months, even after the consumers called to complain. These consumers were

forced to take time to contact Defendants in an effort to locate the funds and address the

problem. Then, on top of the time that funds had already been delayed, Defendants took weeks

and, in some cases, a month or more to identify the problem and then either complete the delayed

transaction or initiate a new refund. During that entire period, consumers and their funds were in

limbo—with their money neither reaching the intended recipients nor available for the

consumers to use for something else (such as to send a replacement transfer). And, in some

cases, at the end of such a lengthy period, rather than completing a remittance transfer that was

caught in a system failure, Defendants started a refund process that could take over a week or

more until funds were available to the sender.




                                                 35
     Case 1:22-cv-03256-KPF           Document 107          Filed 01/24/25     Page 36 of 47




       143)    Consumers were not able to reasonably avoid the injury from Defendants’

system-failure delays. Consumers did not have advance knowledge of, or control over, the delays

or critical aspects of Defendants’ policies, procedures, or systems.

       144)    Countervailing benefits to consumers or competition did not outweigh the

substantial injury to consumers caused or likely to be caused by Defendants’ acts and practices.

Indeed, Defendants’ repeated system-failure delays in transfers and refunds provided no evident

benefit to consumers or to competition. To the contrary, Defendants’ system-failure delays meant

that remittance transfers were not the speedy service that Defendants advertised and publicized

as the reason that customers choose MoneyGram. Defendants’ system-failure delays also meant

that remittance transfers were not available to designated recipients by the availability dates that

Defendants disclosed. Further, Defendants’ system-failure delays undermined the transparency

and certainty imposed by the Remittance Rule and put Defendants at risk of systematically

violating the law.

                                     CAUSES OF ACTION

                                   COUNT I – Remittance Rule:
                     Violations of Availability-Date Disclosure Requirements
                                    (Asserted by the Bureau)

       145)    The allegations contained in Paragraphs 1 through 144 of this Second Amended

and Supplemental Complaint are incorporated by reference.

       146)    The Remittance Rule requires a remittance transfer provider to disclose to a

sender the date in the foreign country on which funds will be available to a designated recipient

(except for certain advance-scheduled, serial transfers).




                                                 36
        Case 1:22-cv-03256-KPF        Document 107        Filed 01/24/25      Page 37 of 47




         147)   When the Remittance Rule requires a provider to disclose the availability date for

a specific transfer under sections 1005.31 and 1005.36, the Remittance Rule requires that a

provider disclose an accurate date.

         148)   Defendants repeatedly failed to disclose accurate availability dates, when such

dates were required.

         149)   Defendants therefore violated the Remittance Rule.

                                 COUNT II – Remittance Rule:
                          Violations of Error-Resolution Requirements
                                    (Asserted by the Bureau)

         150)   The allegations contained in Paragraphs 1 through 149 of this Second Amended

and Supplemental Complaint are incorporated by reference.

         151)   Section 1005.33(c)(1) of the Remittance Rule requires a remittance transfer

provider to investigate certain notices of error promptly and to determine whether an error

occurred within 90 days of receiving the notice. The provider must “report the results to the

sender, including notice of any remedies available for correcting any error that the provider

determines has occurred, within three business days after completing its investigation.” 12

C.F.R. § 1005.33(c)(1).

         152)   Section 1005.33(c)(2) of the Remittance Rule prescribes the remedies that a

remittance transfer provider must give a sender, when, in responding to certain notices of error,

the provider determines that an error occurred. Under section 1005.33(c)(2), a fee refund is

generally part of the remedy for a failure to make funds available by the disclosed availability

date.

         153)   Section 1005.33(d) of the Remittance Rule requires a remittance transfer provider

to follow certain procedures if, when addressing certain notices of error, the provider determines



                                                37
     Case 1:22-cv-03256-KPF           Document 107        Filed 01/24/25      Page 38 of 47




that no error occurred or an error occurred differently than what the sender’s notice of error

described. In these circumstances, section 1005.33(d)(1) requires the provider to give the sender

a written explanation of the provider’s findings that also addresses the sender’s specific

complaint, and to note the sender’s right to request the documents on which the remittance

transfer provider relied in making its determination.

       154)    Defendants failed to satisfy the Remittance Rule’s error-resolution requirements

in multiple instances by failing, when required, to: promptly investigate noticed errors; determine

within 90 days whether an error occurred; report the result of an error investigation to a

consumer within the required period; provide a written explanation of Defendants’ findings that

also addresses the sender’s specific complaint or provide notice of the sender’s right to request

documents related to the investigation, when Defendants determined that no error or a different

error occurred; or refund fees when required to remedy an error.

       155)    Defendants therefore violated 12 C.F.R. §§ 1005.33(c)(1), (c)(2), and (d)(1).

                               COUNT III – Remittance Rule:
                    Insufficient Error Resolution Policies and Procedures
                                   (Asserted by the Bureau)

       156)    The allegations contained in Paragraphs 1 through 155 of this Second Amended

and Supplemental Complaint are incorporated by reference.

       157)    Section 1005.33(g)(1) of the Remittance Rule requires Defendants to develop and

maintain written policies and procedures that are designed to ensure compliance with the

Remittance Rule’s error-resolution requirements.




                                                38
     Case 1:22-cv-03256-KPF           Document 107        Filed 01/24/25      Page 39 of 47




       158)    Defendants failed to develop and maintain policies and procedures designed to

ensure Defendants’ identification of errors covered by the Remittance Rule and to ensure

compliance with other aspects of the Remittance Rule’s error-resolution requirements.

       159)    Defendants therefore violated 12 C.F.R. § 1005.33(g)(1).

                                 COUNT IV – Regulation E:
                        Violations of Record Retention Requirements
                                  (Asserted by the Bureau)

       160)    The allegations contained in Paragraphs 1 through 159 of this Second Amended

and Supplemental Complaint are incorporated by reference.

       161)    Section 1005.33(g)(2) of the Remittance Rule requires Defendants to develop and

maintain written policies and procedures regarding the retention of error-investigation

documentation that ensure certain documents will be retained.

       162)    Section 1005.33(g)(2) also states that providers are subject to 12 C.F.R.

§ 1005.13(b), under which entities must retain evidence of compliance with EFTA and

Regulation E for at least two years from the date disclosures are required to be made, or action is

required to be taken.

       163)    Defendants failed to develop and maintain document retention policies and

procedures sufficient to ensure the retention of required error-related documents.

       164)    Defendants failed, in multiple instances, to retain evidence of compliance with

EFTA and Regulation E for the required period.

       165)    Defendants therefore violated 12 C.F.R. §§ 1005.13(b) and 1005.33(g)(2).




                                                39
     Case 1:22-cv-03256-KPF            Document 107         Filed 01/24/25    Page 40 of 47




                                COUNT V – Remittance Rule:
                      Violations of Fee and Tax Disclosure Requirements
                                    (Asserted by the Bureau)

       166)    The allegations contained in Paragraphs 1 through 165 of this Second Amended

and Supplemental Complaint are incorporated by reference.

       167)    The Remittance Rule requires a remittance transfer provider to disclose to the

consumer the amount that will be received by the designated recipient, certain fees and taxes,

and related amounts. These disclosures must be in every pre-payment disclosure, receipt, or

combined disclosure. 12 C.F.R. §§ 1005.31(b)(1)-(3), 1005.36(a).

       168)    To the extent applicable, such pre-payment disclosures, receipts, or combined

disclosures must also include a statement indicating that non-covered third-party fees or taxes

collected on the remittance transfer by a person other than the provider may apply to the

remittance transfer and result in the designated recipient receiving less than the amount

otherwise disclosed. A provider may only include the statement about non-covered fees or

certain taxes to the extent that such fees or taxes do or may apply to the transfer. See 12 C.F.R.

§§ 1005.31(b)(1)(viii), (b)(2)(i), (b)(3)(i), 1005.36(a).

       169)    Defendants repeatedly provided disclosures to consumers that stated that

non-disclosed fees or taxes could apply and further reduce the amount the recipient received

when such statements could not apply.

       170)    Defendants therefore violated the Remittance Rule.

                                       COUNT VI – EFTA:
                               Illegal Waiver of Consumers’ Rights
                                     (Asserted by the Bureau)

       171)    The allegations contained in Paragraphs 1 through 170 of this Second Amended

and Supplemental Complaint are incorporated by reference.



                                                  40
     Case 1:22-cv-03256-KPF          Document 107        Filed 01/24/25     Page 41 of 47




       172)    EFTA § 914 provides that “[n]o writing or other agreement between a consumer

and any other person may contain any provision which constitutes a waiver of any right

conferred or cause of action created by” EFTA (with certain inapplicable exceptions). 15 U.S.C.

§ 1693l.

       173)    As set forth in paragraph 115, in required disclosures, Defendants inserted

language purporting to require consumers to waive the consumers’ error-resolution rights under

EFTA and the Remittance Rule, 15 U.S.C. § 1693o-1(d) and 12 C.F.R. § 1005.33.

       174)    Defendants therefore violated EFTA § 914, 15 U.S.C. § 1693l.

                                  COUNT VII – The CFPA:
                       Violations of Federal Consumer Financial Law
                     (Asserted by the Bureau and the State of New York)

       175)    The allegations contained in Paragraphs 1 through 174 of this Second Amended

and Supplemental Complaint are incorporated by reference.

       176)    Section 1036(a)(1)(A) of the CFPA prohibits covered persons from offering or

providing consumer-financial products or services not in conformity with “Federal consumer

financial law” or otherwise committing any act or omission in violation of a “Federal consumer

financial law.” 12 U.S.C. § 5536(a)(1)(A).

       177)    EFTA is a “Federal consumer financial law.” 12 U.S.C. § 5481(14).

       178)    Regulation E, including the Remittance Rule, is a “Federal consumer financial

law.” 12 U.S.C. § 5481(14).

       179)    As described above, Defendants violated EFTA and Regulation E, while offering

or providing remittance transfers.

       180)    Defendants’ violations of EFTA and Regulation E therefore constitute violations

of the CFPA.



                                               41
     Case 1:22-cv-03256-KPF            Document 107         Filed 01/24/25       Page 42 of 47




                                 COUNT VIII –The CFPA:
                           Unfair Retention of Consumers’ Funds
                     (Asserted by the Bureau and the State of New York)

       181)    The allegations contained in Paragraphs 1 through 180 of this Second Amended

and Supplemental Complaint are incorporated by reference.

       182)    The CFPA prohibits covered persons or service providers from engaging “in any

unfair, deceptive, or abusive act or practice.” 12 U.S.C. § 5536(a)(1)(B); see also id. § 5531(a).

       183)    An act or practice is unfair if it causes or is likely to cause substantial injury to

consumers that consumers cannot reasonably avoid and that is not outweighed by countervailing

benefits to consumers or to competition. 12 U.S.C. § 5531(c).

       184)    Defendants engaged in unfair acts and practices by failing, due to systems

failures, to make remittance transfers timely available to designated recipients and failing to

make refunds timely available to senders.

       185)    These acts and practices caused, or were likely to cause, consumers substantial

injury that was not reasonably avoidable and not outweighed by countervailing benefits to

consumers or to competition.

       186)    Defendants’ acts and practices, as set forth above, were therefore unfair and

violated the CFPA, 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

                                 COUNT IX – The CFPA:
               Deceptive Statements About Limitations on Consumers’ Rights
                    (Asserted by the Bureau and the State of New York)

       187)    The allegations contained in Paragraphs 1 through 186 of this Second Amended

and Supplemental Complaint are incorporated by reference.

       188)    Section 1036(a)(1)(B) of the CFPA prohibits “unfair, deceptive, or abusive” acts

or practices. 12 U.S.C. § 5536(a)(1)(B).



                                                  42
     Case 1:22-cv-03256-KPF           Document 107         Filed 01/24/25      Page 43 of 47




       189)    In required disclosures for remittance transfers, Defendants made express

representations that they were not responsible for losses resulting from a sender’s failure to

provide certain information correctly, as set forth in paragraph 115.

       190)    In required disclosures, Defendants also stated that remittance transfers were

subject to “MoneyGram Terms and Conditions.” In documents setting out “Terms and

Conditions,” Defendants made express representations that MPSI was not responsible, not liable

to the consumer, or had an actual-damages limit on liability, for delay or other circumstances that

could constitute errors under the Remittance Rule or violations of EFTA and the Remittance

Rule, as set forth in paragraphs 121 through 125.

       191)    But pursuant to EFTA § 919(d), 15 U.S.C. § 1693o-1(d), and the Remittance

Rule, 12 C.F.R. § 1005.33, as remittance transfer providers, Defendants must investigate notices

of error from consumers and provide required remedies for errors that occurred.

       192)    Defendants may also be liable to consumers under EFTA § 916, 15 U.S.C.

§ 1693m, for damages plus other relief when Defendants violate EFTA or the Remittance Rule,

including in their provision of disclosures or handling of notices of error.

       193)    Defendants’ express statements that MPSI would not be responsible, not be liable,

or had an actual-damages limit on liability, for delay or other circumstances that could constitute

errors under the Remittance Rule, or violations of EFTA and the Remittance Rule, misled or

were likely to mislead consumers acting reasonably under the circumstances because they are

false. Contrary to their express representations, Defendants are required under EFTA and the

Remittance Rule to investigate and remedy errors and may be liable under EFTA for damages

and other relief when Defendants violate EFTA or the Remittance Rule, including in their

disclosures regarding transfers or handling of notices of error.



                                                 43
     Case 1:22-cv-03256-KPF            Document 107         Filed 01/24/25      Page 44 of 47




       194)    Defendants’ statements were material to consumers because they were express

and false and, as such, they were likely to affect consumers’ decisions regarding whether and

how to exercise their right to assert, and seek redress for, errors and violations under EFTA and

the Remittance Rule.

       195)    Defendants’ statements constitute deceptive acts or practices in violation of the

CFPA, 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

                        COUNT X – New York Executive Law § 63(12):
                           Violations of EFTA and Regulation E
                           (Asserted by the State of New York)

       196)     The allegations contained in Paragraphs 1 through 195 of this Second Amended

and Supplemental Complaint are incorporated by reference.

       197)    N.Y. Exec. Law § 63(12) authorizes the NYAG to bring an action to enjoin

repeated illegal acts or persistent illegality in the carrying on, conducting, or transaction of

business, including violations of federal law.

       198)    Defendants have repeatedly violated EFTA and Regulation E, including the

Remittance Rule, by the following:

               a)      failing to satisfy the Remittance Rule’s requirements, under 12 C.F.R.

                       § 1005.31 or § 1005.36, that a provider accurately disclose the date of

                       availability of funds;

               b)      failing to satisfy the Remittance Rule’s error-resolution requirements,

                       including by failing, when required, to promptly investigate; to determine

                       whether an error occurred within 90 days; to report the result of their error

                       investigation to a consumer within the required time period; to provide

                       required fee refunds to remedy certain errors; or to provide a written



                                                  44
     Case 1:22-cv-03256-KPF          Document 107         Filed 01/24/25      Page 45 of 47




                      explanation of their findings that also addresses the sender’s specific

                      complaint, or provide notice of the sender’s right to request documents

                      related to the investigation, when Defendants determined that no error or a

                      different error occurred, pursuant to 12 C.F.R. § 1005.33(c)(1), (c)(2), and

                      (d)(1);

               c)     failing to develop and maintain written policies and procedures designed

                      to ensure compliance with the Remittance Rule’s error-resolution

                      requirements, pursuant to 12 C.F.R. § 1005.33(g)(1);

               d)     failing to develop and maintain policies and procedures that ensure

                      retention of required error-related documentation or to retain required

                      evidence, pursuant to 12 C.F.R. §§ 1005.13(b) and 1005.33(g)(2);

               e)     placing statements about undisclosed fees and taxes on disclosures to

                      consumers when those statements could not apply, in violation of the

                      disclosure requirements of the Remittance Rule, 12 C.F.R.

                      §§ 1005.31(b)(1)(viii), (b)(2)(i), (b)(3)(i), or 1005.36(a); and

               f)     using writings or other agreements with consumers that contain provisions

                      that constitute a waiver of a right conferred or cause of action created by

                      EFTA, in violation of EFTA § 914, 15 U.S.C. § 1693l.

       199)    By their actions in violation of EFTA and Regulation E, Defendants have engaged

in repeated and persistent illegal conduct in violation of N.Y. Exec. Law § 63(12).




                                                45
Case 1:22-cv-03256-KPF          Document 107       Filed 01/24/25     Page 46 of 47




                              DEMAND FOR RELIEF

 Plaintiffs request that the Court:

        a)      permanently enjoin Defendants from committing future violations of the

                CFPA and New York Law;

        b)      permanently enjoin Defendants from committing future violations of

                EFTA, 15 U.S.C. §§ 1693 et seq., and its implementing Regulation E, 12

                C.F.R. pt. 1005;

        c)      award monetary relief against Defendants, including but not limited to

                refund of moneys paid, restitution, disgorgement or compensation for

                unjust enrichment, and payment of damages;

        d)      order rescission or reformation of contracts;

        e)      grant such other injunctive relief as the Court may deem just and proper;

        f)      impose a civil money penalty against Defendants;

        g)      order Defendants to pay the costs incurred in connection with prosecuting

                this action; and

        h)      award additional relief as the Court may deem just and proper.




                                         46
     Case 1:22-cv-03256-KPF         Document 107       Filed 01/24/25     Page 47 of 47




Dated: January 24, 2025                       Respectfully submitted,


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                                              47
